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                                            THOMAS H. PETERS, ESQ.
                                               CELL: 310.266.0666

  Los Angeles City Attorney, Los Angeles, 2014-2019. Chief Assistant City Attorney, Civil Litigation Branch.
         Responsible for oversight of claims in which the City is either a plaintiff or a defendant. Manage
         over 100 attorneys and 200 staff in eight sections, including Police Liability, Civil Claims, Business
         and Complex and Employment sections. Frequent appearances before Los Angeles City Council,
         State and Federal Courts.

  UCLA School of Law, 2017-2019. Lecturer in Law. Taught companion course for students pursuing
        semester-long externships with civil governmental entities. Led classroom discussions regarding
        real-world issues encountered by students. Evaluated student submissions/essays.

  Kiesel Law, LLP (previously Kiesel Boucher Larson), Beverly Hills, 2011-2014. Partner. Major state and
          federal tort litigation and trials, catastrophic personal injury, wrongful death, products liability, and
          mass torts matters. Class action and multi-district litigation, suits versus various governmental
          entities. Responsible for all aspects of case evaluation, preparation and resolution. Train, mentor
          and supervise associates.

  Ringler, Kearney, Alvarez, LLP, Los Angeles, 2005-11. Partner. Major state and federal tort litigation and
           trial practice, including mass tort, wrongful death and personal injury matters, wage and hour
           employment class actions, FELA (railroad) cases. Overall case management and decision-making
           responsibilities. Train, mentor and supervise associates.

  Robins, Kaplan, Miller & Ciresi, Century City, 2004-06. Senior Associate. Tort litigation and trial practice.
          Personal injury and mass tort cases; civil rights/police brutality and inverse condemnation cases.
          Responsible for discovery, motions, deposition, mediation and trial work.

  Fogel, Feldman, Ostrov, Ringler & Klevens, APC, Santa Monica, 1994-2004. Associate and Senior
          Associate. State and federal tort litigation and trial practice, including complex workplace incidents,
          significant personal injury, medical malpractice, civil rights (42 USC 1983) and business litigation
          matters. Draft and respond to discovery.

  Briedenbach, Crispo, Swainston & Way, Los Angeles, 1992-94. Associate. Civil litigation defense, including
         personal injury and construction defect cases. Trial work. Legal research, law and motion. Take
         and defend expert and lay depositions.

  EDUCATION
  J.D., Duke University School of Law, Durham, North Carolina, 1992
          ACLU Chapter, Founder
          Death penalty habeas counsel
          Date and Acquaintance Rape Educators (DARE): Community counseling regarding date rape issues
          Big Brothers of Durham: Mentor for at-risk teens

  B.A., Trinity University, San Antonio, Texas, Cum Laude, History/Philosophy, 1988
           Student Court: Issue advisory rulings to Dean of Students on student disciplinary matters
           President Phi Alpha Theta history honor society
           London School of Economics, semester abroad
           Vice President Phi Sigma Tau philosophy honor society
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           Trinity Cares: Tutor at-risk students
  PROFESSIONAL HONORS
  AV Rating, Martindale-Hubbell
  Super Lawyer, 2009-14
  Consumer Attorneys Association of Los Angeles, Presidential Award for Service, 2003, 2005, 2006, 2008
  Certificate of Special Congressional Recognition for Community Service, January 2008 (Rep. Brad
           Sherman)
  State Bar of California Wiley W. Manuel Certificate for Pro Bono Legal Services, 1996

  ACTIVITIES & ORGANIZATIONS
  Los Angeles County Bar Association
         Board of Trustees, 2009-11
         Litigation Section Executive Committee member, 2011-13
         Nominating Committee Member, 2012
         Dialogues on Freedom volunteer, 2010: Facilitate school dialogue regarding civil rights issues
         Barristers, 1995-97: Present mock trial in high schools

  Los Angeles Superior Court Special Advisory Board Regarding Personal Injury Case Management, 2013

  Mediator, Los Angeles Superior Court Alternative Dispute Resolution Program, 2000-2002: Volunteer
         mediator/arbitrator for pending Superior Court cases.

  Consumer Attorneys Association of Los Angeles
        Board of Governors, 1997-2006; Emeritus Board Member, 2007-present
        Government Relations Committee, Chair, 2002-2009: meet with and lobby state legislators
        Las Vegas Seminar, Chair 2003, 2004: Oversee content and curriculum for annual 3-day
                 conference attended by 1,750 attorneys. Select and recruit speakers. Moderate panels.

  Los Angeles Superior Court Law Day volunteer, 2000-04

  Consumer Attorneys Association of California: member, volunteer for annual Lobby Day to meet with and
        lobby state legislators on issues of importance to consumers

  Bet Tzedek, 1996-98: volunteer representation in unlawful detainer matters

  Duke University Alumni Association, 1996-2004: Interview, evaluate prospective undergraduate students

  PROFESSIONAL SPEAKING & WRITING EXPERIENCE
  Invited lecturer for the following:
           Loyola Marymount University (multiple years)
           Los Angeles County Bar Association (multiple years)
           Los Angeles Superior Court (multiple years)
           Los Angeles City Attorney in-house continuing legal education
           Consumer Attorneys Association of Los Angeles (multiple years)
  Advocate Magazine: Multiple articles published

  SIGNIFICANT REPRESENTATIVE MATTERS
     • Lead deposition counsel in multi-fatality Glendale and Chatsworth Metrolink train derailment cases


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     •   Liaison counsel in pending suit versus federal government arising out of multi-fatality Federal Tort
         Claims Act premises liability case
     •   Pending suit versus LAUSD for multiple sexual abuse claims in Miramonte School litigation




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